                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )       Criminal No. 18-10364-DPW
              v.                              )
                                              )
JASIEL F. CORREIA, II,                        )
                                              )
                      Defendant               )

       JOINT INTERIM STATUS REPORT PURSUANT TO LOCAL RULE 116.5(b)

       The United States of America, by and through the undersigned Assistant United States

Attorney, and the defendant, through undersigned counsel, hereby file this Joint Memorandum

Pursuant to Local Rule 116.5(b) as follows:

       1.     The government produced approximately 18,256 pages of automatic discovery on
              November 7, 2018. There are no pending discovery requests.

       2.     The government does not presently anticipate making another substantial discovery
              production prior to 21 days in advance whatever trial date is set.

       3.     Defendant does not yet know whether he will be making discovery requests.

       4.     As the Court is aware, a protective order has been entered. See ECF Dkt. No. 27.

       5.     Defendant has not yet completed his review of the voluminous discovery in this
              case to determine whether he will file motions under Fed. R. Crim. P. 12(b).

       6.     The parties jointly request that any expert witness disclosures be made 60 days in
              advance of whatever trial date is set.

       7.     Defendant has not given notice that he intends to offer a defense of insanity, public
              authority, or alibi, but reserves the right to do so at a later date.

       8.     The Court has excluded time from arraignment, October 11, 2018, through and
              including February 13, 2019. See ECF Dkt. Nos. 13, 29. The parties jointly request
              that the Court enter an order of excludable delay from February 13, 2019, until the
              date on which the Court schedules the next interim status conference, to allow
              defendant additional time to review the voluminous discovery.

       9.     The parties have not had any plea discussions. If this case were to go to trial, the
              government expects that the trial would last approximately two to three weeks.

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       10.     The parties agree that, in light of the information contained herein, an interim status
               conference on February 13, 2019 is not necessary. The parties jointly request that
               the Court cancel the conference scheduled for February 13, 2019, and schedule a
               further interim status conference during the week of April 22, 2019.


                                                              Respectfully submitted,

JASIEL F. CORREIA II,                                         ANDREW E. LELLING
Defendant                                                     United States Attorney

/s/ Kevin Reddington, Esq.                                    /s/ Zachary R. Hafer
Kevin Reddington, Esq.                                        Zachary R. Hafer
                                                              Assistant U.S. Attorney




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified in the Notice of Electronic Filing.

                                                                      /s/ Zachary R. Hafer
                                                                      Zachary R. Hafer
                                                                      Assistant U.S. Attorney

Date: February 6, 2019




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